Case 2:03-cr-20102-SH|\/| Document 40 Filed 06/01/05 Page 1 of 2 Page|D 37
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IN THE UNITED STATES DISTRICT COURT Fll.ED t__.,. »
FOR THE WESTERN DISTRICT OF TENNESSEE PH w 08
WESTERN DIVISION 05 JUH '\ '

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W.D. GF li‘tth‘H-HS

UNITED STATES OF AMERlCA,

VS. NO. 03-20102~Ma/V
SHYRETTE JOHNSON,

Defendant.

 

ORDER OF REFERENCE

 

Before the court is defendant’s May 27, 2005, motion for bond review.
This matter is hereby referred to the magistrate judge for a hearing and determination

rr is so oRDERED this is !' day ofJune, 2005.

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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

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wlth H.l|e 55 and/or 32{1)) FRCrP on` '

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Honorable Diane Vescovo
US DISTRICT COURT

